     Case 2:09-cr-00156-FVS     ECF No. 498   filed 08/18/10   PageID.2054 Page 1 of 1




 1                             UNITED STATES DISTRICT COURT
 2                            EASTERN DISTRICT OF WASHINGTON
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 5
     UNITED STATES OF AMERICA,
                                                         No. CR-09-0156-FVS-3
 6
                          Plaintiff,

 7
                                                         ORDER
                  v.
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 9
     VINCENTE ANGUIANO CAMPOS,

10
                          Defendant.

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             THE DEFENDANT came before the Court for sentencing on August 6,
12
     2010.    He was represented by Dan B. Johnson.              The government was
13
     represented by Assistant United States Attorney Timothy J. Olms.
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             IT IS HEREBY ORDERED:
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             The defendant’s motion for downward departure (Ct. Rec. 368) is
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     DENIED as indicated by the Court at sentencing.
17
             IT IS SO ORDERED.     The District Court Executive is hereby
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     directed to enter this order and furnish copies to counsel.
19
             DATED this     18th    day of August, 2010.
20

21                                  S/Fred Van Sickle
                                      Fred Van Sickle
22                          Senior United States District Judge

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     ORDER - 1
